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I   A0 245B (Rev 06/05) Sheet I -Judgment in a Criminal Case


                               UNITED STA TES DISTRICT COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DlVLSlON




I   UNITED STATES OF AMERICA                                       JLIDGMENT IN A CRIMINAL CASE
                                                                   CASE NUMBER: 8.07-cr-86-T-30TGW
                                                                   USM NUMBER: 49332-01 8




I   PEDRO GARCIA-MENDOZA
    True Name: RODRlGO VAZQUEZ-MERCADO
                                                                   Defendant's Attorney: Victor Martmez, cja.

I   T I E DEFEhDANT:

    X pleaded gu~ltyto count($) Oh= of the indstment.
    - pleaded nolo contendere to count(s) w h c h was accepted by the court
      was found gu~ltyon count(s) afier a plea of not guilty



I   TITLE & SECTION                    NATURE OF OFFENSE

                                       Co~~spiracy  to Distribute and to Possess
                                                                                      OFFENSE ENDED

                                                                                   Januay 29. 2007                        One
                                       with Intent to Distribute 500 Grams or more
                                       of Cocaine


           The defendant is sentencedasprovidedinpages 2 through 6 ofthis judgment. The sentence is imposedpursuant to the Sentencing
    Reform Act of 1984.

    - Thc defeltdilnt has bccn found not guilty on count(s)
    -
    X Count(s) T H E E and FIVE of the lndictnienr are disnussed on the motiw of the United Stutes.
i
1   IT IS FURTHER ORDERED that the defendant must notify the United States Attomey for this district within 30 days of any change of
    name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
    If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
    circumstances.


                                                                                      Date of lrnposit~onof Sentence, September 25.2007




                                                                                                           4L
                                                                                                b. NlOOUY, JK.
                                                                                                  S T A T E S DISTRIC


                                                                                      DATE: September _
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         .4fter considering the advisory senlencilig guidelines arrd all of the factors identified in Title 18 U.S.C. $3
S5S3(a)(l)-97),the court finds that t h e seiitcnccl imposcd is sufi'icicnt, but not grcatclr than ntcessaqr,to co~iipl!\\ ith
the st:itutol.y purposes of sentencing.


           The defeadmt is hereby conmil tccl to llic custody of the United States Burcini of Prisons to Re imprisoaccl for
a total term of FORTtr-SIX (46) -VIONrrEISas to Count One ol'tlie I~~dictnler~t.




                                                     to the Bureau of I'risons: The defendant shall be placed at E'CI C'ulcnlan
    X 'The court makes thc Sollowin,o secomnlei~datio~~s
I   F L,.


X The defendant IS remanded to the custody ofthe C'ni~edStatcs M;irshal.
-
- The defendant shall surrender to the United Statcs hlarshal for this district.




           - beforz 2 p . ~on. -.
           - as notified by the United States IL/larshal.
           - as notified by thc Probation or Pt-ctri:~lServiccs OTlicc.




            1 have executed 111isjudgincnt us Collows:




                                                                                   United States mar-shal
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         Up011 r e l w s c from inlprisoriment, t h e d e f e n d a n t shall be on suj)cn.ised r e l e i ~ s efor a t e r ~ nof FIVE (5) \'EARS as to C'ourit
One of t h e Indictment.

         'The defendanr must report to the probation oflice in ~ h district
                                                                   c        to which tlie clefcnil~ntis relcased uithiii 72 11oursoSrelcasc I'rom
the custody of tllc Bureau of Psisons.

Tlie clcf'c~ldnl~t
                dull 1101~ o ~ n ~another
                                   n j t Ceclerill, state, o r local crilne. Tlie clelkndant sliall not unlawfi~llyposscss a controlled substance.
Tlie dekriciant shall rcfixin Isom any unlawft~luse of a controlled substancc. 'I'he dekmtlnnt shall submit to one cl~ugtest within 15 days
of release from iinprisonment and at leas1 hvo periodic d m g tcsts tllel~eaS~cr,    as determiued by the court.

          The defendant shall not possess a f i r c a ~ n l destructive
                                                            .           device: or any other dangerous wcapoli.



            If t iis j ~ i d g n c n tin-.poscs a fine or restitution it i s a condition of sl~pcr\.isedrelease that the d e h i d a n t pdy in accordance with h e
            Scheduls d'I ' a y ~ n m sslice t of this j~iclgment.

            The del'endant must comply with the st:~nclardconcli t ions that h a w been adopted by this c o u r ~as well as will1 any ncld~lional
            coriditiom on rhc nttnched page.

                                                STAIWARD CONDITIONS 01;'SITPERVISION


            rhe defendanr shall ~cportto the probat ion ofticcs and shall submit 2 r r l ~ ~ l ~a:id
                                                                                                 f i ~complcrc
                                                                                                       :       writtcn report wit11111tlic firsr fi\e d ~ k uh f c a c h
            month:

            the defendant shall answcs 1111~11fiiIly
                                                 all inquiries by the probation oflicer and tbllo\4' the instrr~ctionsof tlie proba~ionofficcr;

            the defendant shall support his or her dcpcndcnts and rnect other family responsibilities:




            the dcfcndan: shall not~f! the probut~onol'liccs at least tcn days priur to any ch~mge111~ ~ s ~ d c or
                                                                                                                 n ccmploymsnr;
                                                                                                                     e

            thc defendant shall refi ain l'som cxcesslve use of alcohol and slid I not pi~scli~se,   posscss, use, dist~I bulc, 01- a d n ~ ~ n ~ sml cyrcontrol lccl
            substancc or any pasapher-nill i : ~ sclaled lo any control lccl substances. cxccpl as prcscrihcd hy a pliys~c~ ~ n ;

            the defc.~:clantshall not f r q i ~ ~places
                                                 nt     w l i c ~controllccl
                                                                   ~         subsranccs arc illeplly sold, used. distributed, or admin~stescd,




            the defendant shall permit a proba~ionofficcr to vis~thim or her at any tlmc at homc or clscwherc and shall ptfrm~tconfiscat~onoT any
            contraband obscrved in plain 1 icw of tlie probation officer:

            Ihe dcfcndunt shall noti@ tlic psobat~onol'ficcr within scvcnty-two Iioi~rso r being al-rcstcd or queslionccl by a law cnli~rccnicnlol'liccs,

                                                               to x t as nn informer or a special agent of a law cnforccmcnt a p c y \vithou~tllc
            t le dcfcndm sl nl! not cntcr ~ n t oany :rgrce~~icnt
            pcr n'ssion o I' thc court; and

            as dircctcd by h c lmbalion officer, thc clol'c~idantshall noti ry tli~rdpnst~csoTrislcs ~ l i a111:ly
                                                                                                              ~ bu ocuus~o~ied
                                                                                                                            b y thc ilcfc~ld~nl's  cs11i11nul     I-ccord
            or persond li~sloryor char:rclcr~sticsand shall permit the probation oi'ficcs to mahc such no~iiicat~o~is         and l o C ~ ~ I I ~ IIIC
                                                                                                                                                  I I - IJI~~l i ' ~ l ~ J a r l ~ ' s
            coniplitlnce wth such not ificatinn requirc~nent.
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A 0 24513 (I<cv CIGl'Oi) Sileet JC - Supervised Release (Judgn~cntin a Criminal Chc)

I,ctc~~dali~:      IJl:DRO (;AIZC'I:l-MENDOZA                                                       Jitdgmcnt - I'agc   4   o i ' h
True Narnc:        RODRIGO V.2ZQU EZ-MERCA DO
Casc Eo.:          8:07-cr-86-T-30TG\+'

                                          SPECIAL COKDITIONS OF SUPERVTSION

          Tlic defcnciant shall also comply \~*ith
                                                 the following additional con~iitiollsor s u p c r ~iscd release:

          The cicf'cl;d~nlshall participate i n a suhs~anceabuse piugraln (outp;~lizntantl/or inp:11ielit)and li,llo\v tc probation officer's
          instructions r e g d i n g the implenlentation of this court directi1.e Further, the defendant slxlll be ~~cluired
                                                                                                                          to contribute to the
          costs of services for such rreatment not to excecd an amount dete~nlincdreasonable by thc Probation Officer's Sl~dmt,:    Scalc !'or
          Substance Abuse Treatment Services. During and upon cotl~pletiorloC this progrxm, the clel'enclnnt is clir.cctecl to suhnll~to
          I andom drug testing.


          Sliould the defendant he deported, he/she shall 1101be allowed to re-cnter tile Unitccl States witl~outthe espruss pe~missionof
          the a p p opriate g o \ ~ e ~ ~ u n e nauthority.
                                                  tal



          l'he mantlatory dnig testing provisions shall apply pursuant to llle Violent Crime Control Act. The Court orders ranciorn ~ I - L I ~
          testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monctary Penaltics (Judgment in a Criminal Casc)

Defendant:         PEDRO GARCIA-MEN DOZA
True Kame:         RODRlGO VAZQUEZ-141 RCADO
Case No.:          8:07-~1.-8b-T--10'I-G
                                       M;




          The defendant must pay the total crilninal monetaly penaltics under the schedulc of' payments on Sheet 6.
                            Assessnle~lt                           Fine                          Total Iiestitution

                            $100.00                                Waived                        &/A




-         The defendant must make restitution (including co~mlunityI-estitutiori)to the following payees in the amount listed
          helow.
          11'tiic JcfmLnt nialtcs a partial payment, each payee shall receive :In app~msi~narely       proportioned payment. unless
          sptc~ficdothcrwibe in the priont) 01-der or pescent,lge p q m e n t column b r . 1 0 ~ .I [owow-. pursuant to 18 U.S.C. 6
          36o-l(i). all non-federal victims ~ i i ~ ibe
                                                      s t paid beii~rethc Unitcd Statzs.


 Namc of Pavee                                  Total Loss*                  Restitution Ordered                     Priority or Percentage




                             Totals:



 -        Tlx defsndrmr nlust pay intercst on a fine or restitution of more than $2,500. mlcss the restitution or fine is paid in fiill
          before the fifteenth day aftcr the date of' the judgment. pursuant ro 1 S L.S.C. $ 36 12(1). All of the payinem options on Sheet
          6 may b2 subject to penalties for delinql~encyand default. pursuant to 18 U.S.C. S 36 12(g).

 -        The court dcterrilined that the defendant does not have the ability to pay interest allcl i t is ordered that:


         -        ~h,: .nr?rcs t ~-eclui~~rncnt
                                            tbr the - tine - restitution is modi tied as I'ollows:


'Tindings for the total amounr of losses arc rcqiiired under Chapters 1 O9A: 1 10, 1 I (1A, iulcl 1 13A of 7 itle 18 lbr the ofrenszs cornmi~terl
on or after September 13. 1994, but belore April 23, 1996.
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Dc lendant:        PEDRO G.4RCIA-MENDOZA                                                          J u d g ~ ~ e n- tPage 6   of
'Truc Namc:        RODRIGO VAZQUEZ-MERCADO
Case KO.:          S:07-cl--86-T-30TGW



                                                    SCHEDULE OF PAYMEKTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follo\vs:

-4.      X
         -         L~unpsum payment of'$ 100.00 due imincdiately, balance due


                             - in accordance        - C, - D. - E or - F below; or
B.       -         Pnymcnt to begin immediately (may be con~binedwith -C. -D. or -F below); or
C.       -        Payn~en1 i 11eq LI a1              (e.g., wccltly, monthly. quarterly) installments of $          over a pcriod
                  oS           (e.g.. months or years), to colnmencc            days (e.g., 30 or 60 clays) after the clate of this
                  ~Jllcl~~l1~cllt;
                              ljl.
D.       -         P:l)msn t ,n ecl~~al            (e-g.,weekly: monthly, q~a~-turly)
                                                                                   installments of $           over :I period of'
                                 , (c.g., montlls or years) to commciicc=               (e.g. 30 or 60 days) after releasc fi.onl
                   imprisonment to a te1.111of supervision; or
E.       -         13aymentduring the turn1 of'supervised release wi I1 commence withln                (e.g.. 30 or 60 days)
                   after release from imprisonment. The court will set thc payment plan based on an assessment of the
                   defmilant's ability to pay at that time, or




Unless the court has expressly ordered othernrise, if this judgmcnt imposes imprisoninent. payment of criminal nlonetary
pcn:llties is due tluring ~mprisonment. All criminal monetary penalties, exccp~those paylnents made through the Fedcral
! l u r m l 01' Priso~dInl:1:1re Financial Kesponsibility I'rogram. are inadc to thc clerk of the court.
The defend:int sl~allreceive crcdit filr :dl p~yments previously niadc: tow:~rdany criminal 111oneta1-y
                                                                                                      penalt ~ c imposed.
                                                                                                                 s

-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Scveral Amount. and corresponding payee, if appropriate:


         .I.he deicndant shnll pay thc cost 01' ~II-osccu
                                                       tion.
-

-        'I'he defendant shall pay the following court cost(s):

-        The defendant shall forfeit the defendant's interest in the following pl-operty to the IJnited States:
        The C'o~~rt    orders that the defendant iort'eit to the Unitccl Statcs immediately and vol~~nta~-ily             any and all :~ssetsand
-mq)elt ~ .or. port ions t!lcrcoS. sulject to forfeiture, urhich :ire in the p o w x i o n 01-c o n ~ ~ -ofo lthe de I'cndant or the dckndant 's
11( mlnees.

Payments shall be applied in the li)llo\ving order: ( I ) wesstncnt, ( 2 ) ~.csstit~~lion
                                                                                       principal, ( 3 ) restit\~tioninterest. (1)fine princ~pal.( 5 )
fine interest. (6) cot~utlunityrestitution, (7) penalties, and (8) costs. including cost of rosecu cut ion and court costs.
